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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                  Case No. 13-CR-00267-BLW-1
                      Plaintiff,
                                                  REPORT AND
        v.                                        RECOMMENDATION

 Nathen Leon Massie,

                      Defendant.


       On March 5, 2014, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement. The

Defendant executed a written waiver of the right to have the presiding United States

District Judge take his change of plea. Thereafter, the Court explained to the Defendant

the nature of the charges contained in the Superceding Indictment, the maximum

penalties applicable, his constitutional rights, the impact that the Sentencing Guidelines

will have, and that the District Judge will not be bound by the agreement of the parties as

to the penalty to be imposed.

       The Court, having conducted the change of plea hearing and having inquired of the

Defendant, his counsel, and the government, finds that there is a factual basis for the

Defendant’s guilty plea, that he entered it voluntarily and with full knowledge of the

consequences, and that the plea should be accepted.
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                                  RECOMMENDATION

       Based upon the foregoing, the Court being otherwise fully advised in the premises,

the Court hereby RECOMMENDS that:

       1)      The District Court accept Defendant Nathen Leon Massie's plea of guilty

to Count 1 and 5 of the Superceding Indictment, and that a pre-sentence report be

ordered.

       2) The District Court GRANT, at the appropriate time, the United States’ motion

to dismiss Count 2, 3, and 4 of the Superceding Indictment as to Defendant.

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.




                                                   DATED: March 10, 2014



                                                   Honorable Mikel H. Williams
                                                   United States Magistrate Judge
